                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR PRESIDENT,        )
INC., et al.,                         )
                                      )
           Plaintiffs,                )
                                      ) CIVIL ACTION
     v.                               )
                                      )
KATHY BOOCKVAR, et al.,               )
                                      ) No. 20-CV-02078
           Defendants.                )
                                      )


              MOTION TO COMPEL RESPONSE TO PLAINTIFFS’
                   FIRST SET OF INTERROGATORIES




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I.     INTRODUCTION

       The core questions in this case are whether Pennsylvania election officials counted

unlawful ballots—in violation of the Electors Clause of the Constitution—and whether their

counting process differed substantially in certain counties—in violation of the Equal Protection

Clause of the Constitution. Plaintiffs have alleged, and have evidence supporting their claim,

that the answer to both is yes.       But fully demonstrating the extent of the constitutional

violations—and whether they were sufficient to change the electoral outcome—requires

evidence under the exclusive control of Pennsylvania officials.          This information is not

confidential, and it is not burdensome to gather. Defendants’ answers are important ahead of the

upcoming evidentiary hearing, and delay severely prejudices the Plaintiffs. In an ordinary case,

discovery would come at a later stage and the ordinary time periods in the Federal Rules would

apply, but courts have discretion to expedite discovery for emergency relief, and this Court

should exercise that discretion here. Defendants should be compelled to respond to Plaintiffs’

four concise, targeted Interrogatories.

II.    ARGUMENT

       Plaintiffs contend that Defendant Counties counted invalid ballots, which is itself a

violation of the Electors Clause and (because other counties did not do so) a violation of the

Equal Protection Clause. Defendants either deny that this occurred or admit it, but believe doing

so was permissible. Resolving the factual question is essential and can be done fairly easily.

District courts have wide discretion in managing discovery, and “courts have routinely granted

expedited discovery in cases involving challenges to constitutionality of government action.”

Ellsworth Assocs., Inc. v. United States, 917 F. Supp. 841, 844 (D.D.C. 1996) (citing cases).

Although “the Third Circuit has not yet adapted a clear standard [for expedited discovery] . . . the

recent trend among courts in this circuit favors the ‘good cause’ or reasonableness standard.”


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Canal St. Films v. Does 1-22, No. 1:13-CV-0999, 2013 WL 1775063, at *2–3 (M.D. Pa. Apr. 25,

2013). And “[g]ood cause is usually found where the plaintiff's need for expedited discovery, in

consideration of the administration of justice, outweighs the possible prejudice or hardship to the

defendant.” Id. (citing cases); see also Malibu Media LLC v. Doe, No. 1:15-CV-1129, 2015 WL

3795948, at *2 (M.D. Pa. June 18, 2015) (granting expedited discovery).

       Plaintiffs served their First Set of Interrogatories on Defendants on November 11, 2020.

Plaintiffs asked for Defendants cooperation and advised them that Plaintiffs would seek relief

from this Court if Defendants would not agree to provide responses ahead of the normal Rule 26

deadlines. See ECF 89-2 (Ex 9). In substance, the four interrogatories ask the following targeted

and crucial questions:

           1. County Defendants: How many mail-in ballots and absentee ballots were
              counted and how many were invalidated? How many secrecy ballots were
              received?
           2. County Defendants: How many mail-in and absentee ballots lacking a signature,
              lacking an inner secrecy envelope, or otherwise defective were “cured” by a
              provisional ballot after you or your agents contacted a voter to inform them of the
              defect in their ballot?
           3. Secretary: When did the Secretary of State’s office become aware that the
              County Election Board defendants were, prior to the election, engaged in
              inspection of mail-in and/or absentee ballots and communicating to voters where
              such ballots were deemed defective?
           4. Secretary: Describe how you became aware that the County Election Board
              defendants were, prior to the election, engaged in inspection of mail-in and/or
              absentee ballots and communicating to voters where such ballots were deemed
              defective and all steps you took to ensure that uniform procedures were being
              followed throughout the State.

       Responding to these questions would not be burdensome. The materials required to

answer each of these questions is within Defendants’ possession. Moreover, the information

sought in the first two Interrogatories is public record that should be made readily available

under Pennsylvania law. See 25 Pa. Stat. Ann. § 3150.17 (“All official mail-in ballots, files,



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applications for ballots and envelopes on which the executed declarations appear and all

information and lists are designated and declared to be public records and shall be safely kept for

a period of two years . . . .”).

        Getting answers to these questions is critical for demonstrating the Plaintiffs’ claims. If

Defendants rejected a negligible number of ballots, that presents good reason to believe they

counted thousands of defective ballots (whether by simply counting them, or by allowing an

opportunity to “cure”). Plaintiffs have no way to directly gather this information. The answers

would provide hard numbers supporting Plaintiffs’ claims and may shed light on the magnitude

and materiality of the violation. For example, if the number of counted mail-in ballots is higher

than the number of secrecy envelopes, that would prove that Defendants counted at least that

number of invalid votes.

        Responses to these Interrogatories before the evidentiary hearing on November 19 would

greatly aid this Court in deciding Plaintiffs’ Motion for a Preliminary Injunction. It will inform

which witnesses Plaintiffs and Defendants alike may seek to call and will greatly focus the

issues. Plaintiffs recognize that ordinary litigation timescales would not permit discovery at this

early stage, but believe good cause exists to expedite the limited discovery sought here.

December 8 is the statutory safe harbor date for appointing state electors. Under 3 U.S.C. § 5, as

long as Pennsylvania appoints its electors by that day, its slate “shall be conclusive, and shall

govern in the counting of the electoral votes.” Unless this Court grants expedited discovery, it

will not be possible to resolve the weighty questions presented in this case by that deadline. The

result would be that a practice that “violates the United States Constitution and undermines the

manner of selecting electors determined by the [Pennsylvania] Legislature” would be certified,

which would “directly and irreparably harm[]” Plaintiffs.




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III.   CONCLUSION

       For the foregoing reasons, the motion to compel should be granted.

                                                   Respectfully submitted:

Dated: November 13, 2020
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                              CERTIFICATE OF SERVICE

       I hereby certify that this 13th day of November, 2020, I filed a copy of the foregoing

BRIEF IN SUPPORT OF PLAINTIFFS’ VERIFIED MOTION FOR TEMPORARY

RESTRAINING ORDER AND PRELIMINARY INJUNCTION which will serve all parties

registered to receive same.




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